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   AO 440 (Rev. 05/00) Summons in a Civil Action



                                          UNITED STATES DISTRICT COURT
                                                       NORTHERN DISTRICT OF ILLINOIS



                                                                              SUMMONS IN A CIVIL CASE
   Innovenu Ltd.


                                                                    CASE NUMBER:       1:18-cv-1996
                                   V.                               ASSIGNED JUDGE:
                                                                                       Gary Feinerman
    Henes USA, Inc.
                                                                    DESIGNATED
                                                                    MAGISTRATE JUDGE: Mary M. Rowland


                       TO: (Name and address of Defendant)
          Henes USA, Inc.
          c/o Sean Pak
          1247 Milwaukee Ave, Ste 208
          Glenview, IL 60025


             YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)
                    Isaac Rabicoff
                    Rabicoff Law LLC
                    73 W Monroe St
                    Chicago, IL 60603



                                                                                  21
   an answer to the complaint which is herewith served upon you,                                days after service of this
   summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
   the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
   period of time after service.




THOMAS G. BRUTON, CLERK

                                                                                           March 20, 2018
(By) DEPUTY CLERK                                                                          DATE
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AO 440 (Rev. 05/00) Summons in a Civil Action
                                                                 RETURN OF SERVICE
                                                                                        DATE
          Service of the Summons and complaint was made by me(1)
NAME OF SERVER (PRINT)                                                                  TITLE


   Check one box below to indicate appropriate method of service

          G Served personally upon the defendant. Place where served:




          G Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
            discretion then residing therein.
              Name of person with whom the summons and complaint were left:

          G Returned unexecuted:




          G Other (specify):




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                SERVICES                                      TOTAL



                                                              DECLARATION OF SERVER

                   I declare under penalty of perjury under the laws of the United States of America that the foregoing information
          contained in the Return of Service and Statement of Service Fees is true and correct.


          Executed on
                                        Date                    Signature of Server




                                                                Address of Server




(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
